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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________________

UNITED STATES OF AMERICA,
                                                                          REPORT AND
                         Plaintiff                                     RECOMMENDATION
       v.
                                                                            08-cr-87-bbc-02
COREY THOMAS,

                    Defendant.
_________________________________________________________________________________________

                                                REPORT

       The grand jury has charged Corey J. Thomas and three co-defendants with two armed

bank robberies and associated charges.           See dkt. 50.   Before the court for report and

recommendation is Thomas’s motion to quash his arrest and suppress evidence obtained

therefrom, namely a cellular telephone, $13,000 cash, the statements made by the three men

arrested with him (who are not the co-defendants) and all of their footwear. See dkt. 29. As

discussed below, the challenged searches exceeded the bounds of an acceptable Terry pat down.1

Whether suppression is the appropriate remedy is a close question in light of the Supreme

Court’s retrenchment of the exclusionary rule, most recently in Herring v. United States, ___

U.S.___, ___ S.Ct. ___, 2009 WL 77886 (Jan. 14, 2009), decided after briefing concluded on

Thomas’s motion.         What tips the balance toward suppression is that this phase of the

investigation was based on a trap and trace order issued at least partly in reliance on a misstated

material fact regarding a cellular telephone suspected to be possessed by one of the bank robbers.

As a result, I am recommending that the court grant Thomas’s motion to suppress.




       1
            Terry v. Ohio, 392 U.S. 1 (2000).
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        This court held an evidentiary hearing on Thomas’s motion on October 20, 2008. Having

heard and seen the witnesses testify, having reviewed all the exhibits and other evidence,2 and

having made credibility determinations, I find the following facts:


                                                  FACTS

        At about 10:00 a.m. on May 21, 2008, three African-American men wearing masks and

brandishing firearms robbed US Bank in Blooming Grove, Wisconsin, taking over $130,000.

One robber left a shoe print on the tellers’ counter. During their investigation, deputy sheriffs

quickly deduced that a fourth man had been involved in the robbery: Michael Simmons,

ostensibly a bank customer that morning, but actually an accomplice who had been left behind.

Simmons uses a wheelchair.

        Initially, deputies questioned Simmons as an eyewitness. Simmons reported that he was

at the bank waiting for his friend Lamar Liggons to pick him up. Simmons described the

robbers’ getaway vehicle as a blue van, which was consistent with other witnesses’ descriptions.

In response to an APB broadcast about the getaway van, the Fitchburg Police Department

reported that on May 19, 2008 at about 3:00 a.m. an officer had stopped a blue van with Texas

license plates. The driver was Lamar Liggons, a front seat passenger was Alisha McDaniel and

in the back, in a wheelchair, sat a man named Michael Simmons. The van’s occupants were

searching for McDaniel’s mother’s residence on Carling Street. A comparison of the traffic stop

video to the bank surveillance video showed that the pants that Liggons was wearing on May 19

were similar to those worn by one of the bank robbers on May 21.




        2
          I am granting the government’s motion to supplement the record with the state court pen register
affidavit and order, see dkt. 76 and have considered the facts contained therein. If we didn’t deal with this
document now, the parties would be dealing with it under 28 U.S.C. §636(b)(1)(C).

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        Sheriff’s Detective Dawn Johnson tracked down and interviewed McDaniel’s mother, a

woman named Diane Wilson. Wilson explained that McDaniel, who lived in Chicago, arrived

at her home very early on May 19 with two African-American men named Lamar and Mike (who

used a wheelchair). Lamar was about 5'5" to 5'6" tall. According to Wilson, her daughter stayed

home with her for most of the next several days, while the two men came and went frequently.

The two men left the residence at about 9:00 p.m. on Tuesday night, May 20. Wilson never saw

Mike again but she saw Lamar on May 21 around noon when he picked up McDaniel and they

returned to Chicago.

        During their stay at Wilson’s house, Lamar and Mike made and received a large number

of calls on Wilson’s telephone. Wilson reviewed the numbers stored in her phone’s caller ID,

and identified a set of 17 telephone calls from a number unknown to her: 608-228-2385.

Wilson concluded that these were the calls received by Lamar, Alisha and Mike. See transcript,

dkt. 54, at 24 -25, 37-38.

        Early the next day, May 22, 2008, the lead investigator, Sheriff’s Detective Steve

Wegner, sought and obtained a state court trap and trace order that allowed deputies to use

cellular telephone transmission towers to locate and track the target telephone associated with

608-228-2385 (the “target telephone”). By then, additional evidence had been uncovered that

had caused the deputies to arrest Simmons as a party to the crime of armed bank robbery.

Detective Wegner reported to the court that “Wilson also knew Liggons cell phone number as

608-228-2385.” See dkt. 76, attachment 1. This was an inaccurate report of what Wilson

actually had told Detective Johnson.3



        3
          According to D etective Johnson, W ilson “did not know whose number this was and that she
knew they had been talking on the phone while they were staying at her house. Because she didn’t know
the number, this had to be an associate of . . M ike, Alisha and/or Lamar.” W ilson reported that all three
of them had received calls from this telephone. Dkt. 54 at 37-38.

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       In the order, the court states, among other things, that “there is probable cause to believe

that the physical location of the target cellular telephone will reveal evidence of the Armed

Robbery . . ..” Detective Wegner did not file a complaint or seek an arrest warrant for any

person. His intent in seeking this order was to locate a specific telephone, not a specific person.

       That same day, the Wisconsin Department of Justice’s Division of Criminal Investigation

(DCI)joined the investigation. A DCI employee at a fixed location obtained information from

area cell towers to determine which side of which tower was picking up signals from the target

telephone when it made or received a call, powered up or shut down. This tower information

narrowed the location of the target telephone to an arc extending out from the tower one to five

miles. DCI’s tower-monitoring agent relayed this information to a DCI technical agent, Jody

Wormet, who was chasing the target telephone in a van containing equipment that would allow

him to track the telephone’s movement more precisely once Wormet got it within the two-to-

three block range of his more sensitive equipment. Agent Wormet’s equipment included a

screen that showed a targeted telephone’s actual location, movement and direction in real time.4

Agent Wormet took a one week class to train him how to use his equipment and has used it over

150 times since July 2005. In his experience, this tracking equipment has been successful 100%

of the time when attempting to locate a mobile telephone.

       On May 22, 2008, a convoy of Dane County deputy sheriffs and other state law

enforcement officers accompanied Agent Wormet’s van as cell tower information tracked the

target telephone northeast through Beaver Dam, Waupun, then Fond du Lac.

       Information from a Fond du Lac cell tower indicated that the target telephone phone was

within two miles. Agent Wormet drove through the area following a grid pattern, trying to



       4
          The government objected on confidentiality grounds to providing more detailed information
about the equipment and this court upheld many of these objections over Thomas’s protests.

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detect the target telephone with his mobile tracking equipment. Agent Wormet picked up the

signal and determined that the target telephone was located in a vehicle parked at a Kwik Trip

gas station on West Johnson Street in Fond du Lac. Agent Wormet drove to the gas station and

circled the gas pump island at a distance of 30-40 feet. Based on the location and strength of

the signal he obtained while circling, Agent Wormet concluded that the target telephone was in

a vehicle at the pump island. Agent Wormet observed three African-American men talking to

each other outside of two cars at the island. Based on Agent Wormet’s knowledge of the

descriptions of the bank robbers he concluded that these men were the suspects and that one

of them possessed the target telephone. Agent Wormer noticed other vehicles at the island but

did not pay attention to them.

           As the two cars began to leave the gas station, the signal that Agent Wormet was

receiving from the target telephone changed in direction and strength in a manner consistent

with the cars’ exit. Agent Wormet alerted his convoy. About 12 to 15 deputies, state troopers

and local law enforcement agents (collectively referred to hereafter as deputies) rushed to the

scene in their vehicles and blocked the two cars. The deputies considered the occupants of the

two cars to be armed and dangerous, so they drew and aimed their weapons, ordered the

occupants out of both cars and handcuffed them. Corey Thomas and Preston Dixon were in

one car, Eric Reed and Jason Jordan were in the other. As far as the lead agent Detective

Wegner was concerned, the four men were under arrest and were subject to searches incident to

arrest.5




           5
          Detective W illiam Hendrickson, who also participated in this seizure, agreed that all four men
were arrested and taken into custody; Detective Johnson asserted that none of the suspects actually was
under arrest although all four were handcuffed and subsequently transported in custody to the local police
station for questioning.

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           Detective Kathy Dorn patted down Thomas, felt a cell phone in his pocket and retrieved

it without opening it. Detective Wegner called the number of the target telephone; Thomas’s

telephone rang. Officer Dorn also believed that she had felt wads of cash in two of Thomas’s

pants pockets but she did not retrieve them. Simultaneously, Detective Johnson was thoroughly

searching the vehicle that Thomas had been driving, looking for any evidence of the bank

robbery. (Detective Hendrickson was searching the second car incident to arrest, found a cell

phone it and checked its database for recent calls). Because Deputy Johnson was in charge of

retrieving evidence associated with Thomas, Officer Dorn summoned Detective Johnson to

perform a second pat down of Thomas. Detective Johnson also felt what she thought were large

wads of cash in Thomas’s two front pockets and removed them: they were, indeed, wads of cash.

Deputies found a third wad of cash in Thomas’s back pocket; all told, Thomas had been carrying

about $13,000.

       Deputies transported all four men, in cuffs, to the Fond du Lac police department,

Mirandized and interrogated them and confiscated their shoes to compare to the shoe print left

on the bank counter. Thomas is approximately 6'2" and weighs over 200 pounds, Reed is 5'7"

and 172 pounds., Dixon is 5'10" and 150 pounds. Jordan, is 6'0" tall and 160 pounds. Reed,

Dixon and Jordan were not involved in the bank robberies.


                                            ANALYSIS

       Thomas argues that he was arrested and searched without probable cause, and that all

evidence seized from him must be suppressed. See dkts. 60 & 72.6 The government disagrees,

claiming that the gas station encounter qualifies as an investigative detention that only required




       6
         Thomas no longer is claiming standing to suppress statements or other evidence obtained from
Dixon, Reed or Jordan.

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reasonable suspicion and that the target telephone and cash were recovered during a series of

allowable weapon pat downs. See dkt. 68.

       As a starting point, let’s remove from the analysis two issues that appear to be

undisputed. First, the deputies did not have probable cause to arrest Thomas at the time that

they performed a felony stop of his car. The government tacitly concedes this point in its brief,

arguing only that there was reasonable suspicion for a Terry stop and that under the totality of

circumstances, the detention and subsequent searches were not unreasonable. Second, even if

there were to have been a Fourth Amendment violation, Thomas’s remedy in this prosecution

is limited to the suppression of physical evidence; he cannot challenge his own presence before

this court. See United States v. Crews, 445 U.S. 463, 474 (1980). Thomas does not seriously

contend otherwise, despite the title of his motion.

       These are the questions that the court needs to answer: Was there reasonable suspicion

to stop Thomas’s car? If not, does the good faith doctrine nonetheless justify this stop? If a

Terry stop was justified, did either the amount of force and restraint used, or the scope of the

subsequent searches exceed the permissible bounds of an investigative detention? In light of

Herring, even if the deputies violated Thomas’s Fourth Amendment rights, does this violation

require exclusion of evidence?

       Let’s start with a definition of reasonable suspicion sufficient to justify a Terry stop:

              The Fourth Amendment protects against unreasonable searches
              and seizures. Police are permitted, however, to make investigatory
              stops limited in scope and executed through the least restrictive
              means reasonable, referred to as Terry stops. Terry stops are
              permissible so long as they are supported by reasonable and
              articulable suspicion that the suspect has committed a crime or is
              about to do so. Reasonable suspicion is less than probable cause,
              but more than a hunch. In evaluating the reasonableness of a
              Terry stop, we examine the totality of the circumstances known to



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                the officer at the time of the stop, including the experience of the
                officer and the behavior and characteristics of the suspect.

       United States v. Grogg, 534 F.3d 807, 810 (7th Cir. 2008).

There is no bright line separating an investigative detention from a formal arrest; the distinction

hinges on the intrusiveness of the detention, which is a flexible and highly fact-intensive inquiry.

Jewett v. Ander, 521 F.3d 818, 823 (7th Cir. 2008). In determining whether the deputies’ actions

toward Thomas were reasonably related in scope to the circumstances which justified the

interference in the first place, courts must bear in mind that an investigatory stop can involve

a measured use of force because a necessary corollary of the right to conduct an investigatory

stop is the ability to use reasonable means to effectuate it. Therefore, a measured use of force

appropriate to accomplish the purposes of the investigatory stop does not convert a Terry stop

into an arrest. However, the use of force might escalate to the point where the encounter

becomes, as a matter of law, a formal arrest. In differentiating between the two, the touchstone

is reasonableness: were the deputies’ actions reasonable in light of all the circumstances? In

evaluating whether the force used was so disproportionate to the purpose of such a stop as to

convert the encounter into a full arrest, courts consider whether the surrounding circumstances

gave rise to a justifiable fear for personal safety, and whether the defendant resisted or evaded

the officers.   Id. at 824-25.   To require deputies to risk their lives in order to make an

investigatory stop would run contrary to the intent of Terry; therefore, deputies may conduct a

pat-down search if they have articulable facts that lead them to believe that the suspect could

be armed or present a threat to others. Id. at 825.




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       For instance, in United States v. Tilmon, 19 F.3d 1221 (7th Cir. 1994)(a case out of this

court), a solo bank robber described as armed and dangerous fled in a distinctive muscle car.

Two hours after the robbery and 50 miles distant, officers noticed a matching car driven by a

man matching the general description of the robber (young black male, 5'10", 160 lbs.); the

driver slid down in his seat when a patrol car pulled up next to him on the highway to look at

him. About five police cars stopped the car on the highway, ordered the suspect out of his car

at gunpoint, and handcuffed him while holding a shotgun to his head. The court held that this

full felony stop had not exceeded the bounds of a Terry stop. The court noted that it has

adopted a sliding scale approach so that stops too intrusive to be justified by suspicion under

Terry but short of custodial arrest, were reasonable when the degree of suspicion was adequate

in light of the degree and the duration of the restraint. Id. at 1226. As the court observed,

              When effecting a Terry stop, which is always a stop made at “close
              range,” police officers must make a quick decision about how to
              protect themselves and others from possible danger. They are not
              necessarily required to adopt alternative means to ensure their
              safety in order to avoid the intrusion involved in a Terry encounter.
              A court in its assessment should take care to consider whether the
              police are acting in a swiftly developing situation, and in such cases
              the court should not indulge in unrealistic second-guessing.

       Tilmon, 19 F.3d at 1225.

       Against this backdrop, let’s examine the instant case. In a nutshell, Thomas and his

companions were subjected to a high-risk felony stop, followed by searches incident to arrest,

all based on evidence that did not rise to a reasonable suspicion. The lack of reasonable

suspicion has its roots in a law enforcement miscommunication about what Wilson had said

about the target telephone. Detective Wegner believed that Wilson had reported that this



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telephone belonged to Liggons, a prime suspect in the bank robbery. But Wilson had told

Detective Johnson that she did not know whose phone this was; her recollection was that

Liggons had received calls from this phone, as had Simmons and McDaniel.7 Despite what the

deputies told the state court, they did not have any evidence that this telephone actually

belonged to or was being used by one of their bank robbers. Almost everything that followed

was based on this avoidable mistake.

        At best, the deputies had a strong hunch that the target telephone could belong to one

of the two unknown bank robbers. So what’s the difference between a strong hunch and a weak

reasonable suspicion? Perhaps the answer depends on what the police do with it. Using the

Seventh Circuit’s sliding scale calculus, maybe a strong hunch can be deemed weak reasonable

suspicion if the police approach their suspect circumspectly rather than at full tactical strength.

More on this in a moment. Regardless which label the court pastes onto the deputies’ evidence

regarding the target telephone, this evidence was circumstantial and inferential: during a two-day

visit to Dane County, two bank robbery suspects and a non-suspect each took a total of 17 calls

from an unknown cell telephone with a local area code. The suspects had two unknown

accomplices. Perhaps one of the unknown accomplices had been calling them to plan the

robbery. But then why was the non-suspect, McDaniel, taking calls? Was she actually talking

to the caller or was she just taking messages for Liggons and Simmons? The deputies didn’t

know. Could this have been someone else calling, for instance, a local drug dealer with whom

the robbers were attempting to set up a post-robbery drug transaction in order to launder the


        7
           Hindsight is irrelevant to a suppression analysis, but W ilson’s report comports with reality,
since it would have been Thomas using this telephone to call Simmons, Liggons and perhaps M cDaniel.

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cash and increase their profits? Or was this drug dealer repeatedly calling to insist that Liggons

and Simmons square a front, which drove them to commit a bank robbery? Were the calls from

a persistent girlfriend or relative trying to set up a meeting with a visiting loved one? Each of

these speculative scenarios is equally possible and plausible.

        In any event, the deputies obtained a trap-and-trace order from the state court that

allowed them to attempt to locate the telephone and its holder.8 The day after the robbery,

using technology that either is prosaically old school (the court’s view) or “voodoo” (defense

counsel’s view), a caravan of law enforcement officers led by a DCI tech agent chased the

telephone northeast up Highway 151 to Fond du Lac. Using the target telephone essentially as

a “beeper,” the tech agent was able to pinpoint its location to a pump island at a gas station.

Considering that the agent completely circled the pump to verify his readings, there can be little

doubt that he had the right location.

        Whether Agent Wormet focused on the right cars has led to a race-tinged flare-up

between counsel, compare dkt. 68 at 7, n.4 with dkt. 72 at 4. Agent Wormet recalls that there

were other cars at the pumps, but he focused quickly and exclusively on the three black men

chatting next to two of the cars. I infer that Agent Wormet focused on them because they were

the only African-American men at the pumps.9 Even if this is true, this would not constitute



        8
           Thomas did not challenge issuance of the order under Franks v. Delaware, 438 U.S. 154 (1978)
and it’s too late to do so now, see F.R. Cr. P. 12(c) & (e). On the other hand, neither may the government
rely on United States v. Leon, 468 U.S. 897 (1984), see dkt. 68 at 6, n.2 because the court’s order was based
on the applicant’s misstatement of a material fact. Cf. United States v. Garey, 329 F.3d 573, 577 (7 th Cir.
2003).

        9
           In 2006, African Americans constituted 1.9% of the population of the City of Fond du Lac. See
http://quickfacts.census.gov/qfd/states. If there had been other African-American men at the pumps, then
the agent would be hard-pressed to explain why he picked out these three men and their vehicles as the
investigative targets.

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improper racial profiling on these facts. This is not a situation where the bank robbers’ race was

unknown and the deputies chose to focus on the black motorists because they were black; rather,

the deputies knew that the four bank robbers were African-American, so common sense

indicated that any whites, Asians, Native Americans or Hispanics at the pumps could be ruled

out as direct suspects.

        Thomas also argues that other than being black, these tall men did not come close to

meeting the height and weight descriptions for the shorter Liggons. But this entire seek-and-

detain exercise was based on the erroneous surmise that Liggons possessed the target telephone

when in fact the evidence was that Liggons did not have this telephone, someone else did.

Therefore, the deputies should not have been looking for a person matching Liggons’s

description, and they had no descriptors at all regarding the person possessing the target

telephone other than their assumption that he must be a black male, based on their other

assumption that one of the bank robbers possessed the telephone.10 (As an aside, based on what

Wilson actually had told Detective Johnson, incorrectly searching for Liggons instead of a third

party is not the sort of “reasonable but mistaken assumption” addressed by the court in Herring

v. United States, 2009 WL 77886 at *4, because here the deputies had generated the correct

information themselves a day earlier and must be held to have known it under the collective

knowledge doctrine. See United States v. Whitaker, 546 F.3d 902, 905 (7th Cir. 2008).)




        10
           W hich perhaps lead us to the juncture decried in United States v. Prideaux-W entz, 543 F.3d 954,
960-61 (7 th Cir. 2008): each inferential leap diminished the value of the evidence so that virtual certainty
became probability, which merged into possibility, which faded into chance.

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       Even so, it would not have been unreasonable at this juncture to initiate a police-citizen

encounter to explore a bit further. The deputies were in warm pursuit of armed bank robbers

and had a strong hunch/weak reason to suspect that the men at the gas station were associated

with the bank robbers. Returning to the two-variable calculus employed by the Seventh Circuit

for Terry stops, an approach commensurate to the weakness of the evidence perhaps could have

been deemed reasonable. But the deputies, for their own safety, initiated a highly intrusive full

felony stop of the two cars. Under Tilmon, this is not necessarily a constitutionally unreasonable

approach, but there are sufficient factual differences here to question the appropriateness of the

tactics used.   This was not hot pursuit from the robbed bank during which the suspects

undoubtedly still would have been armed, hypervigilant and potentially trigger-happy. The bank

robbery had occurred over 24 hours earlier and 75 miles southwest, and there was no actual

evidence that any of the four men in these two cars had participated in the robbery or that they

currently were armed. The evidence linking these four men to a crime was that one of these men

possessed a cell phone that had called two of the suspected robbers (and a third party) 17 times

in the two days prior to the robbery.

       Even so, it’s not necessarily over for the government; as the court explained in Tilmon,

courts should be chary of second-guessing split-second decisions made on the scene by trained

officers. It would have been difficult to fault the deputies’ use of a short burst of overwhelming

force intended quickly to take control of the scene and disarm the suspects. But once this was

accomplished, given the weak evidence supporting the stop, it would have been reasonable and

appropriate for the deputies to holster their firearms, perhaps uncuff the suspects and ask

questions to corroborate or dispel their suspicions.

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        But that’s not what happened. As 2/3 of the deputies testified (including the lead

investigator), they stopped these four men with intent to arrest them, and they did arrest them.

The deputies handcuffed all four, searched them incident to arrest and searched their cars

incident to arrest. One detective removed a cell phone from a car and searched its memory.

Another detective removed a cell phone from Thomas’s pocket. There is no evidence that she

believed it was a weapon and the “plain feel” doctrine only justifies “seizure of contraband

plainly detected through the sense of touch.” Minnesota v. Dickerson, 508 U.S. 366, 376-77

(1993). The incriminating character of the object must be “immediately apparent” from a pat-

down; the officer is forbidden from conducting a further search. Id. at 379. In creating this

limited expansion to Terry, the Court was sensitive to the danger that police would enlarge it into

the equivalent of a general warrant to rummage or search at will. Id. at 378; See also United States

v. Brown, 188 F.3d 860, 866 (7th Cir. 1999)(“An officer is not justified in conducting a general

exploratory search for evidence under the guise of a stop-and-frisk.”)

        Keep in mind that Dickerson says nothing about the suspected evidentiary value of the felt

object; the question is whether its incriminating nature is immediately apparent.11 Therefore,

in this age of universal cell phone usage, the fact that Thomas had in his pocket an object that

felt like cell phone (or perhaps a PDA) did not give the deputies the right to seize it. Perhaps if

Detective Wegner had called the target telephone’s number before they seized it, this would have

been acceptable, but he did not. Also, the fact that two deputies performed two pat downs of



        11
           United States v. Hernandez-Rivas, 348 F.3d 595, 599 (7 th Cir. 2003), at first blush seems to
suggest that a wad of cash is subject to seizure under the plain feel doctrine, but the deputies actually saw
that the wad of paper was currency, then asked the defendant what it was and he told them it was
$10,000.

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the wads of paper in Thomas’s pockets before deciding that they must be feeling cash suggests

either that the contraband nature was not immediately apparent, or more likely, that Thomas

was searched again by Detective Johnson because he was under arrest and she was the evidence

custodian for him and his vehicle.      The bottom line is that, given the weak evidence of

wrongdoing by whoever possessed the target telephone, the detectives exceeded the bounds both

of a permissible Terry stop and of a permissible Terry frisk. As a result, the physical evidence

seized from Thomas at the gas station probably should be suppressed.

       But there’s a final consideration: notwithstanding the overzealousness of the deputies,

is this a case in which it would be unreasonable to apply the exclusionary rule? “Paradigm shift”

is a trite and often meaningless phrase, but it might be an apt description of the Supreme

Court’s recent curtailment of the exclusionary rule as illustrated by Herring v. United States and

Hudson v. Michigan, 547 U.S. 586 (2006). Here’s the new rule:

               To trigger the exclusionary rule, police conduct must be sufficiently
               deliberate that exclusion can meaningfully deter it, and sufficiently
               culpable that such deterrence is worth the price paid by the judicial
               system. As laid out in our cases, the exclusionary rule serves to
               deter deliberate, reckless, or grossly negligent conduct, or in some
               circumstances recurring or systemic negligence.

       Herring, 2009 WL 77886 at *7.

The parameters of this new iteration will be determined over time, and perhaps this case will be

part of the vanguard. After all, how can you fault tenacious police work that results in the

capture of a suspected armed bank robber, even if this capture is the result of some guesses and

gut feelings? What sort of police behavior would be deterred by telling the deputies that they

cannot use the evidence that they seized from Thomas at the gas station?



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       But this entire phase of the investigation was based on a miscommunication of a material

fact between the investigating detectives and the misstatement of that material fact to the state

court in support of the trap-and-trace application. There is no evidence that this was deliberate

and I don’t doubt that the detectives were putting forth best efforts in good faith in a fast-

evolving investigation involving a gang of armed bank robbers.         But switching Wilson’s

statement from “It was not Liggons’s phone” to “it was Liggons’s phone” in the trap-and-trace

application flipped a critical fact in favor of the government. It also led to the detectives

significantly overplaying their hand when they stopped, arrested and searched Thomas in the

absence of probable cause or even reasonable suspicion.

       Finally, one has to ask: is the Supreme Court directing lower courts to become result-

oriented in their application of the exclusionary rule? “The deterrent effect of suppression must

be substantial and outweigh any harm to the justice system.” Id. at *9, emphasis added. Absent

reckless disregard of constitutional requirements, the criminal should not go free because the

constable has blundered. Id. Duly noted. It’s not clear, however, how to apply this principle

in a rational and predictable manner. The most logical conclusion is that the Court is not

instructing trial courts to consider the effect of suppression on the government’s ability to

prosecute its case, but instead admonishing courts only to suppress evidence when the

constitutional violation is both clear and capable of being deterred in the future.

       This appears to be such a case. Suppressing the fruits of this search should encourage

local law enforcement officers more assiduously to present accurate recitations of material facts

to courts when seeking investigative orders and search warrants, and also encourage them to be




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more mindful of the distinction between arrests and searches justified by probable cause and

Terry stops and frisks justified by reasonable suspicion.




                                    RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b)(1)(B) and for the reasons stated above, I recommend

that this court grant defendant Corey Thomas’s motion to suppress physical evidence and his

post-arrest statements.


       Entered this 20th day of January, 2009.

                                             BY THE COURT:

                                             /s/

                                             STEPHEN L. CROCKER
                                             Magistrate Judge




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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN
                                120 N. Henry Street, Rm. 540
                                    Post Office Box 591
                                 Madison, Wisconsin 53701

       Chambers of                                                             Telephone
  STEPHEN L. CROCKER                                                         (608) 264-5153
   U.S. Magistrate Judge

                                       January 21, 2009

Elizabeth Altman
Assistant U.S. Attorney
P.O. Box 1585
Madison, WI 53701-1585

Robert Thomas Ruth
Attorney at Law
7 North Pinckney Street, Suite 240
Madison, WI 53703

       Re:      United States v. Corey Thomas
                Case No. 08-CR-087-bbc-02

Dear Counsel:

       The attached Report and Recommendation has been filed with the court by the United
States Magistrate Judge.

      The court will delay consideration of the Report in order to give the parties an
opportunity to comment on the magistrate judge's recommendations.

       In accordance with the provisions set forth in the newly-updated memorandum of the
Clerk of Court for this district which is also enclosed, objections to any portion of the report
may be raised by either party on or before January 30, 2009, by filing a memorandum with the
court with a copy to opposing counsel.

      If no memorandum is received by January 30, 2009, the court will proceed to consider
the magistrate judge's Report and Recommendation.

                                            Sincerely,

                                            /s/

                                            Connie A. Korth
                                            Secretary to Magistrate Judge Crocker
Enclosures
cc:    Honorable Barbara B. Crabb, District Judge
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         MEMORANDUM REGARDING REPORTS AND RECOMMENDATIONS


       Pursuant to 28 U.S.C. § 636(b), the district judges of this court have designated the full-

time magistrate judge to submit to them proposed findings of fact and recommendations for

disposition by the district judges of motions seeking:

              (1) injunctive relief;

              (2) judgment on the pleadings;

              (3) summary judgment;

              (4) to dismiss or quash an indictment or information;

              (5) to suppress evidence in a criminal case;

              (6) to dismiss or to permit maintenance of a class action;

              (7) to dismiss for failure to state a claim upon which relief can be granted;

              (8) to dismiss actions involuntarily; and

              (9) applications for post-trial relief made by individuals convicted of
                  criminal offenses.

       Pursuant to § 636(b)(1)(B) and (C), the magistrate judge will conduct any necessary

hearings and will file and serve a report and recommendation setting forth his proposed findings

of fact and recommended disposition of each motion.

       Any party may object to the magistrate judge’s findings of fact and recommended

disposition by filing and serving written objections not later than the date specified by the court

in the report and recommendation. Any written objection must identify specifically all proposed

findings of fact and all proposed conclusions of law to which the party objects and must set forth

with particularity the bases for these objections. An objecting party shall serve and file a copy
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of the transcript of those portions of any evidentiary hearing relevant to the proposed findings

or conclusions to which that party is objection. Upon a party’s showing of good cause, the

district judge or magistrate judge may extend the deadline for filing and serving objections.

       After the time to object has passed, the clerk of court shall transmit to the district judge

the magistrate judge’s report and recommendation along with any objections to it.

       The district judge shall review de novo those portions of the report and recommendation

to which a party objects. The district judge, in his or her discretion, may review portions of the

report and recommendation to which there is no objection. The district judge may accept, reject

or modify, in whole or in part, the magistrate judge’s proposed findings and conclusions. The

district judge, in his or her discretion, may conduct a hearing, receive additional evidence, recall

witnesses, recommit the matter to the magistrate judge, or make a determination based on the

record developed before the magistrate judge.

       NOTE WELL: A party’s failure to file timely, specific objections to the magistrate’s

proposed findings of fact and conclusions of law constitutes waiver of that party’s right

to appeal to the United States Court of Appeals. See United States v. Hall, 462 F.3d 684,

688 (7 th Cir. 2006).
